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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS



  DONNELL THOMPSON
                  Plaintiff
                                                          CIVIL ACTION
             V.
                                                          NO. 00CV10981-RWZ
 CORRECTIONAL OFFICER WILLIAM TORRES
                   Defendants



                                    JUDGMENT


 ZOBEL, D. J.

  Pursuant to Rule 54(b), Fed.R.Civ.P. on Count 49; Judgment is entered for plaintiff
in the amount of $125,001.00 compensatory damages, plus $50,000.00 in punitive
damages.

                                                    By the Court,


  8/17/09                                           s/ Lisa A. Urso
Date                                               Deputy Clerk
